

Matter of Djanuzakov v Manhattan &amp; Bronx Surface Tr. Operating Auth. (2024 NY Slip Op 01751)





Matter of Djanuzakov v Manhattan &amp; Bronx Surface Tr. Operating Auth.


2024 NY Slip Op 01751


Decided on March 28, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 28, 2024

535458
[*1]In the Matter of the Claim of Bolot Djanuzakov, Appellant,
vManhattan &amp; Bronx Surface Transit Operating Authority, Respondent. Workers' Compensation Board, Respondent.

Calendar Date:

Before:Clark, J.P., Pritzker, Lynch, Reynolds Fitzgerald and Fisher, JJ., concur





Motion for reargument or, in the alternative, for permission to appeal to the Court of Appeals.
Upon the papers filed in support of the motion and the papers filed in opposition thereto, it is
ORDERED that the motion for reargument is granted, without costs, the memorandum and order decided and entered July 20, 2023 (218 AD3d 980 [2023]) is vacated, and the following memorandum and order is substituted therefor, and it is further
ORDERED that the motion for permission to appeal to the Court of Appeals is denied, without costs.
Clark, J.P., Pritzker, Lynch, Reynolds Fitzgerald and Fisher, JJ., concur.








